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 7    Attorney for Defendant CITY OF CALEXICO

 8
                                   UNITED STATES DISTRICT COURT
 9
                                SOUTHERN DISTRICT OF CALIFORNIA
10

11   JUAN GARCIA                             )              No. ’12CV0087 W JMA
                                             )
12         Plaintiff,                        )              DEFENDANT CITY OF CALEXICO’S
                                             )              NOTICE AND MOTION FOR
13         vs.                               )              JUDGMENT ON THE PLEADINGS
                                             )              PURSUANT TO FED. R. CIV. PRO.
14   CITY OF CALEXICO, a municipality;       )              12(c)
     VICTOR CARILLO, individually and in his )
15   capacity as City Manager of the City of )              DATE: October 15, 2012
     Calexico; and DOES 1-10, Inclusive,     )              COURTROOM: 7
16                                           )
           Defendants.                       )              No Oral Argument Pursuant to
17                                           )              Local Rule 7.1(d)(1)
                                             )
18                                           )
                                             )
19

20           TO PLAINTIFF AND HIS ATTORNEY OF RECORD

21           NOTICE IS HEREBY GIVEN that on October 15, 2012, in Courtroom 7 of the
22   above-entitled court, defendant CITY OF CALEXICO (hereinafter “CITY”) will move the
23
     Court to dismiss this action as to each claim alleged against the CITY pursuant to
24
     FRCP 12(c) on the grounds that:
25
             (1) Plaintiff’s first cause of action for Violation of Civil Rights pursuant to
26

27   42 U.S.C. § 1983 fails to state a claim upon which relief may be granted; and

28   34284                                              1
                        NOTICE AND MOTION FOR JUDGMENT ON THE PLEADINGS
                                 PURSUANT TO FED. R. CIV. PRO. 12(c)
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 1           (2) Plaintiff’s second cause of action for Invasion of Privacy under the California
 2   Constitution lacks supplemental jurisdiction and should be dismissed.
 3
             This motion for judgment on the pleadings is based on the Notice of Motion, the
 4
     accompanying Memorandum of Points and Authorities, the pleadings and papers filed
 5
     in this action thus far, and on any and all evidence that may presented at or before the
 6

 7   hearing on this motion.

 8

 9   DATED: August 20, 2012                     GIBBS & FUERST
10

11                                              By:    s/Michael T. Gibbs___________
                                                       MICHAEL T. GIBBS
12                                                     STEVEN A. TISI
                                                       Attorneys for Defendant
13                                                     CITY OF CALEXICO
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28   34284                                         2
                       NOTICE AND MOTION FOR JUDGMENT ON THE PLEADINGS
                                PURSUANT TO FED. R. CIV. PRO. 12(c)
